Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 1 of 23




                     PX3447
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 2 of 23




                     PX3449
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 3 of 23




                     PX3450
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 4 of 23




                     PX3451
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 5 of 23




                     PX3452
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 6 of 23




                     PX3454
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 7 of 23




                     PX3455
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 8 of 23




                     PX3456
                     Filed Under Seal
Case 1:20-cv-03590-JEB   Document 353-14   Filed 05/25/24   Page 9 of 23




                     PX3457
                     Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 10 of 23




                         PX3458
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 11 of 23




                         PX3459
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 12 of 23




                         PX3460
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 13 of 23




                         PX3461
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 14 of 23




                         PX3462
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 15 of 23




                         PX3463
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 16 of 23




                         PX3464
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 17 of 23




                         PX3465
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 18 of 23




                         PX3466
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 19 of 23




                         PX3467
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 20 of 23




                         PX3468
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 21 of 23




                         PX3469
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 22 of 23




                         PX3470
                         Filed Under Seal
Case 1:20-cv-03590-JEB    Document 353-14   Filed 05/25/24   Page 23 of 23




                         PX3471
                         Filed Under Seal
